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15   COMPANY
16
                               UNITED STATES DISTRICT COURT
17                            NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
18
19
     UNITED STATES OF AMERICA,                      Case No. 14-CR-00175-WHA
20
                                  Plaintiff,        SUPPLEMENTAL RESPONSE TO
21                                                  ORDERS REGARDING ZOGG
22                                                  FIRE
            v.
23                                                  Judge: Hon. William Alsup
     PACIFIC GAS AND ELECTRIC COMPANY,
24
                                  Defendant.
25

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 1                  Defendant Pacific Gas and Electric Company (“PG&E”) provides below

 2   additional information responsive to the Court’s October 21 and October 26, 2020 orders

 3   regarding the Zogg Fire.

 4   I.       Vegetation Management Work in the Area of Interest

 5                  On October 26, 2020, the Court issued an order requesting the following

 6   additional information:

 7                  “In its response on the Zogg Fire, PG&E shall state the extent to
                    which the line in question had been cleared of vegetation within
 8                  the last five years and the extent to which its records or its
                    contractor records showed there was any vegetation that needed to
 9
                    be cut, but was not yet cut in the general area where equipment
10                  was seized by authorities. If this cannot be answered in time for its
                    overall response on the Zogg Fire, then this answer may be
11                  provided as a supplement at the same time it responds to the
                    Monitor’s criticisms.”
12
     (Dkt. 1249.)
13
                    PG&E provides the following further information on vegetation management
14
     work performed in the area of interest in 2015, 2016 and 2017. PG&E previously reported on
15
     vegetation management in the area of interest performed in 2018, 2019 and 2020, and repeats
16
     certain of that information below for convenience. To be clear, when PG&E describes trees
17
     worked in the “area of interest”, it is referring specifically to trees that were worked along or in
18
     the vicinity of the three specific spans of line from which CAL FIRE collected evidence, not the
19
     entire Girvan 12 kV Distribution Circuit (“Girvan Circuit”) (which spans approximately 117 line
20
     miles). The area of interest is depicted in Exhibit C to PG&E’s October 26, 2020 submission.
21
                    The below table summarizes tree work in the area of interest and the area
22
     surrounding those poles, as well as the entire Girvan Circuit, resulting from vegetation
23
     management patrols conducted by PG&E vegetation management contractors that occurred from
24
     2015 to 2020. During a routine vegetation management patrol, pre-inspectors identify and
25
     prescribe work necessary to maintain compliance with regulatory requirements, including
26
     California Public Resources Code § 4293. During separate Catastrophic Event Memorandum
27

28


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 1   Account (“CEMA”) patrols, pre-inspectors identify and prescribe the removal or trimming of

 2   dead, dying or diseased trees.

 3                                 Approximate              3 Spans in Area of Interest and
                                    Tree Units                 Area Surrounding Poles
 4               Patrol            Trimmed or
                                   Removed on           Trees Identified         Type of Work
 5
                                  Entire Circuit1
 6                                                         1 Live Oak               Trimmed
             June–July 2015
                                       2,200            1 Knobcone Pine             Trimmed
 7              Routine
                                                          2 Gray Pines              Removed
 8
          Mar. 2016 CEMA                502             4 Ponderosa Pines           Removed
 9
                                                           1 Live Oak               Trimmed
10           June–July 2016
                                       1,560            1 Knobcone Pine             Trimmed
                Routine
                                                             1 Oak                  Trimmed
11
               Mar. 2017
                                        50                 1 Gray Pine              Removed
12              CEMA
             Oct.–Nov. 2017                                2 Live Oaks              Trimmed
13                                     1,970
                 Routine                                  2 Gray Pines              Trimmed
14             Apr. 2018
                                        103                1 Gray Pine              Removed
                CEMA
15

16

17       1
            Tree units reported here are approximations based on data recorded in PG&E’s Project
18   Management Database (“PMD”) for “Tree Trimming Units” (“TT Units”) (trees worked
     following identification during pre-inspections) and “Tree Trimming Adds” (“TT Adds”)
19   (additional trees worked by tree trimmers that were not identified during a pre-inspection). At
     this stage, PG&E has not checked tree units reported in the PMD against the original work orders
20   and other associated paperwork.
21       2
            This figure reflects tree units worked as a result of their identification during the March
22   2016 CEMA patrol and does not account for a small number of tree units identified and worked
     as a result of supplemental patrols PG&E performed that year under the CEMA program for
23   certain sections of the circuit in Wildland Urban Interface (“WUI”) areas (defined by the U.S.
     Fire Administration as areas where human-made structures and infrastructure are in or adjacent
24   to areas prone to wildfire) and Fire Hazard Severity Zones (“FHSZ”) (zones of heightened
     wildfire hazards defined by CAL FIRE based on factors such as fuel, slope and fire weather).
25
         3
            This figure reflects tree units worked as a result of their identification during the April
26   2018 CEMA patrol and does not account for a small number of tree units identified and worked
27   as a result of supplemental patrols under the CEMA program for sections of the circuit in WUI
     areas.
28

                                                  2
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 1                                 Approximate               3 Spans in Area of Interest and
                                    Tree Units                  Area Surrounding Poles
 2               Patrol            Trimmed or
                                   Removed on            Trees Identified         Type of Work
 3
                                  Entire Circuit1
 4                                                         1 Gray Pine               Removed
               Oct. 2018                                 1 Knobcone Pine             Removed
 5                                     1,620
                Routine                                    2 Live Oaks               Removed
                                                           1 Gray Pine               Trimmed
 6
             Jan.–Feb. 2019
                                        140                    N/A                      N/A
 7              CEMA4
                                                           2 Live Oaks               Trimmed
 8                                                         4 Gray Pines              Removed
               Apr. 2019
                                       1,370               1 Black Oak               Removed
 9              Routine
                                                         1 Knobcone Pine             Removed
10                                                      3 Ponderosa Pines            Removed
                                                       1 Canyon Live Oak             Trimmed
11           Mar.–Apr. 2020                                1 Black Oak               Removed
                                       2,150
                Routine                                4 Canyon Live Oaks            Removed
12                                                         3 Gray Pines              Removed
13
                    As PG&E previously reported, based on its review of records, PG&E has not
14
     identified at this time any trees in the area of interest for which tree work had been prescribed but
15
     was incomplete at the time of the Zogg Fire or CAL FIRE’s collection of evidence.
16
                    From July to August 2018, the Carr Fire burned over 200,000 acres in Shasta and
17
     Trinity Counties. PG&E believes the area of interest experienced fire activity as a result of the
18
     Carr Fire. Following large fires, vegetation management work is performed to address the
19
     effects of fire on vegetation. PG&E believes the records associated with post-Carr Fire
20
     vegetation management work in the area of interest are stored by a third party, Mountain G
21
     Enterprises, Inc. (“Mountain G”). On October 23, 2020, PG&E requested from Mountain G that
22
     these records be provided to PG&E as soon as possible. Mountain G has informed PG&E that it
23
     is working on the request and anticipates providing the records this week. PG&E will
24
     supplement this response once it has received the records from Mountain G and analyzed them.
25

26       4
          As discussed below, a separate CEMA patrol of the area of interest was not performed in
27   2019. The CEMA patrol conducted from January to February 2019 covered segments of the
     Girvan Circuit other than Zogg Mine Road.
28

                                                  3
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 1                  In its October 29, 2020 order, the Court asked whether there “were additional

 2   trees identified for possible work” beyond the trees identified for work in the area of interest

 3   during the April 2018 CEMA patrol and October 2018 routine patrol. The six5 trees identified

 4   for work in connection with the April 2018 CEMA patrol and October 2018 routine patrol (and

 5   to which the Court is referring) are all of the trees that were identified for work only in the area

 6   of interest and the area surrounding those poles. As reflected in the chart above, the data

 7   recorded in PG&E’s Project Management Database (“PMD”) indicate that approximately 1,630

 8   trees along the entire Girvan Circuit were worked as a result of both the 2018 routine patrol and

 9   the separate CEMA patrol that year.

10                  In its October 29, 2020 order, the Court asked the following question in reference

11   to the April 2019 routine patrol and associated tree work: “For the 2019 patrols and work, were

12   additional trees identified for possible work beyond the ten referenced at page 8?” (Dkt. 1256

13   at 5.) The 116 trees identified for work in connection with the April 2019 routine patrol (and to

14   which the Court is referring) are those that were identified for work only in the area of interest

15   and the area surrounding those poles. As reflected in the chart above, the data recorded in

16   PG&E’s PMD indicate that more than 1,300 trees along the entire Girvan Circuit were worked as

17   a result of the 2019 routine patrol.

18                  In its October 29, 2020 order, the Court asked the following question in reference
19   to the routine patrol conducted from March to April 2020: “Given that more than 2,000 trees

20
         5
           PG&E’s October 26 submission identified five trees in the area of interest and in the area
21   surrounding the poles that were worked as a result of both the 2018 CEMA patrol and 2018
22   routine patrol. As identified in the chart above, PG&E has identified in this submission an
     additional tree in the area of interest (a Live Oak) that also was worked as a result of the 2018
23   routine patrol but was inadvertently omitted from its prior submission.
         6
24          As the Court notes, PG&E’s October 26 submission identified 10 trees in the area of
     interest and in the area surrounding the poles that were worked as a result of the 2019 routine
25   patrol. PG&E has identified in this submission one additional tree in the area of interest (a
     Ponderosa Pine) that also was worked as a result of the 2019 routine patrol but was inadvertently
26   omitted from its prior submission. PG&E interprets the Court’s reference to “the ten [trees]
27   referenced at page 8” as a reference to these 11 trees in the area of interest that were worked as a
     result of the 2019 routine patrol.
28

                                                   4
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 1   were identified for work on the Girvan Circuit, why were only ten trees worked?” (Dkt. 1256

 2   at 5.) The nine7 trees that PG&E specifically identified for work in connection with the 2020

 3   routine patrol (and to which the Court appears to be referring) are those that were identified for

 4   work only in the area of interest and the area surrounding those poles. As reflected in the chart

 5   above, the data recorded in PG&E’s PMD indicate that more than 2,000 trees along the entire

 6   Girvan Circuit were worked as a result of the routine patrol.

 7                   As requested by the Court in its October 29, 2020 order, (Dkt. 1256 at 5), PG&E

 8   is providing as Exhibit A “reports by PG&E or CNUC or Wright Tree Service regarding the

 9   March to April 2020 patrols and work referenced at page 8” of its October 26, 2020 submission.8

10   II.        2019 CEMA Patrol of the Area of Interest

11                   In its October 26, 2020 response, PG&E indicated that it would update the Court

12   on the findings of its investigation concerning the lack of a separate CEMA patrol of the area of

13   interest in 2019. On October 29, the Court requested a further response on this issue by

14   November 18. (Dkt. 1256.) PG&E is providing the following additional information based on

15   PG&E records reviewed to date, and if warranted will update this response in its November 18

16   submission.

17

18
19

20         7
            Although the Court refers to “ten trees worked” in connection with the 2020 routine patrol,
     (Dkt. 1256 at 5), PG&E’s October 26 submission identified six trees in the area of interest and in
21   the area surrounding the poles that were worked as a result of the 2020 routine patrol. As
22   identified in the chart above, PG&E has identified in this submission three additional trees in the
     area of interest (two Gray Pines and one Canyon Live Oak) that also were worked as a result of
23   the 2020 routine patrol but were inadvertently omitted from its prior submission. PG&E
     interprets the Court’s reference to “ten trees worked” as a reference to these nine trees in the area
24   of interest that were worked as a result of the 2020 routine patrol.
25         8
           Exhibit A contains the index map for the 2020 routine patrol on the Girvan Circuit
     (Ex. A-1); excerpts of a report from PG&E’s VMD corresponding to work in the area of interest
26   and the area surrounding the poles that was performed as a result of that patrol (Ex. A-2); work
27   order requests for the portion of the Girvan Circuit that includes the area of interest (Exs. A-3,
     A-4); and a screenshot of PG&E’s PMD that includes approximate figures for the number of
28   trees worked on the Girvan Circuit in 2020 (Ex. A-5).

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 1                  As stated in PG&E’s October 26 submission, PG&E’s Wildfire Mitigation Plan

 2   (“WMP”) for 2019 included a target to complete 100% of drought and tree mortality CEMA

 3   patrols by the end of 2019. CEMA patrols are supplemental inspections for dead, dying or

 4   diseased trees on certain circuits. CEMA patrols are performed in addition to PG&E’s annual

 5   routine vegetation management patrols, during which pre-inspectors similarly look for dead,

 6   dying or diseased trees, but also identify other work to meet regulatory requirements, including

 7   maintaining radial clearances from conductors.

 8                  PG&E did not meet its 100% completion target for separate CEMA patrols, as

 9   previously reported. Specifically, on January 15, 2020, PG&E reported to the Court and the

10   CPUC that it had completed 81% of all planned CEMA patrols for 2019 on a mileage basis.

11   (Dkt. 1132 at 7.) On April 7, 2020, PG&E publicly filed a WMP compliance report with the

12   CPUC that updated the percentage of completed CEMA patrols to 76%, among other updates.9

13   A copy of the compliance report is attached as Exhibit B.10

14
         9
           As stated in the WMP compliance report filed with the CPUC on April 7, 2020, the other
15
     updates were as follows: “1.2 Transmission Corrective Actions: Validated Work Completion
16   updated from 93% to 91%; 1.7 Distribution Corrective Actions: Validated Work Completion
     updated from 96% to 97%; 3.2 EVM Circuit Miles: Validated Work Completion updated from
17   103% to 102%; 3.3 & 3.5 CEMA Inspections: Validated Work Completion updated from 81% to
     76%; and 6.1 Response, Recovery and Restoration: year-end status updated to purple
18   ‘Completed Late’ from blue ‘Completed’; while rebuild and recovery plans were operationally in
     place by June 1, 2019, PG&E updated its wildfire response and post-incident recovery
19
     capabilities, documented in the Company Emergency Response Plan (CERP) as of
20   September 26, 2020.” (Ex. B.)
         10
21          For 2019, there were more than 40,000 line miles in the CEMA scope associated with
     more than 2,000 distinct CEMA projects (each associated with a CEMA patrol on a circuit
22   segment). Completed routine and CEMA patrols are documented in the signed paper maps
     maintained by PG&E’s field offices. Information about the patrols is also input into PG&E’s
23   electronic Project Management Database or “PMD”. The 76% estimate of completed CEMA
     miles in 2019 was based on a review of PG&E’s PMD for CEMA projects. In making that
24
     estimate, PG&E excluded miles associated with CEMA projects where no trees were identified
25   for work and the projects had the same starting date for the patrol and tree trimming work. On
     re-review of this estimate, PG&E has determined that it was both overinclusive and
26   underinclusive. The methodology counted as incomplete some CEMA patrols that comments
     recorded for the project indicated had been completed. It also counted as complete certain other
27   CEMA patrols that comments indicated were not completed. Accordingly, PG&E has since used
28   a different method to estimate the total CEMA miles patrolled in 2019. That method involved

                                                  6
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 1                  PG&E’s scheduling of vegetation management patrols underwent significant

 2   change in 2019, and those changes affected the Girvan Circuit. The impetus for the changes was

 3   an effort to prioritize routine vegetation management work based on wildfire risk.

 4                  PG&E subjects all distribution circuits to an annual vegetation management

 5   patrol. In more recent years, certain circuits have been subjected to additional CEMA patrols.

 6   Prior to 2019, the timing of the routine vegetation management patrol was driven in large part by

 7   practical and operational considerations. For example, a circuit in the Sierras might present a

 8   high fire threat, but be subjected to a vegetation management patrol during or after fire season

 9   because, among other things, the circuit would typically be covered in snow for the beginning

10   part of the year. Following the 2018 Camp Fire, PG&E sought to prioritize routine vegetation

11   management patrols for high fire-risk circuits so that they occurred before fire season.

12                  PG&E believes completing routine patrols of circuits in higher-risk areas before

13   fire season is an important benefit that will reduce risk going forward. The Girvan Circuit along

14   Zogg Mine Road is an example—in 2019 and 2020, a large amount of tree work was identified

15   and completed as a result of the routine patrol before fire season, rather than during or after fire

16   season as had happened in prior years. Transitioning to a new schedule amid ongoing work in

17   2019 created unique scheduling challenges in 2019, including for CEMA patrols.

18                  As stated in PG&E’s prior submission, based on PG&E’s records, the specific
19   area of interest on the Girvan Circuit did not receive a separate CEMA patrol in 2019. The facts

20   currently known to PG&E based on its records are as follows.

21                  PG&E tracks patrols of the section of the Girvan Circuit that includes the area of

22   interest using a specific project number for “Zogg Mine Road”. As noted above, for 2017 and

23   2018, routine patrols of the Zogg Mine Road area—including the area of interest—were

24

25   reviewing the comments associated with each CEMA project for which no tree work was
     prescribed. Specifically, PG&E reviewed its PMD and excluded any CEMA projects where no
26   trees were identified for work and there was either a comment that the CEMA project was not
27   completed or a comment that did not affirmatively indicate that the patrol was completed.
     Application of this method yielded the same estimate: as reported to the CPUC in April 2020,
28   approximately 76% of all CEMA miles in 2019 were completed.

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 1   conducted in the last quarter of the year (October or November). CEMA patrols of the Zogg

 2   Mine Road were offset from the routine patrols by approximately six months and occurred in the

 3   earlier part of the year (March in 2017 and April in 2018).

 4                   The last routine patrol of the Zogg Mine Road area before 2019 occurred in

 5   October 2018. Absent changes to the routine patrol schedule for 2019, the CEMA patrol for this

 6   section of the Girvan Circuit likely would have occurred in the March to April time period, as it

 7   had in 2017 and 2018.

 8                   In early 2019, as a result of PG&E’s risk-informed changes to the routine patrol

 9   schedule, the routine patrol of the Zogg Mine Road area was brought forward from the later part

10   of the year and scheduled for May 2019. Entries in PG&E’s Project Management Database

11   indicate that a PG&E contractor (a database management specialist) made corresponding

12   changes to the start dates for both the routine and CEMA patrols of the Zogg Mine Road area of

13   the Girvan Circuit. An entry in PG&E’s Project Management Database for January 29, 2019

14   indicates that the database management specialist changed the start date of the routine patrol for

15   the Zogg Mine Road area of the Girvan Circuit to May 27, 2019—much earlier in the year than

16   had been the case for 2017 and 2018. Another database entry for March 12, 2019 indicates that

17   the same database management specialist changed the start date of the CEMA patrol of the Zogg

18   Mine Road area to November 15, 2019, creating an approximate six-month offset from the new
19   date for the routine patrol.

20                   On April 4, 2019, another database management specialist changed the start date

21   for the CEMA patrol of the Zogg Mine Road area from November 15, 2019 to February 15,

22   2019, a date that had already passed by the time of the scheduling change. PG&E has not at this

23   time determined why this change was made. Another portion of the Girvan Circuit had received

24   a separate CEMA patrol from January to February 2019.

25                   Based on PG&E’s records, a CN Utility Consulting (“CNUC”) pre-inspector

26   started the routine patrol of the Zogg Mine Road area on April 10 and completed it on April 29.

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 1   The circuit map indicates that different pre-inspectors completed routine patrols of other areas of

 2   the Girvan Circuit (not including the area of interest) in March 2019.

 3                  As noted in PG&E’s prior submission, the pre-inspector who conducted the

 4   routine patrol of the Zogg Mine Road area submitted two separate records: one stating that he

 5   conducted a routine patrol of the Zogg Mine Road area from April 10 to April 29, and another

 6   indicating that he conducted a CEMA patrol of the same area on the same dates. All of the trees

 7   that the CNUC pre-inspector identified for work from April 10 to April 29 were recorded in

 8   PG&E’s systems as having been identified during the routine patrol. PG&E’s routine vegetation

 9   management patrols encompass all of the elements of a CEMA patrol, including inspection for

10   dead, dying and diseased trees. However, PG&E does not regard its routine patrols as counting

11   toward its 2019 WMP target to complete 100% of separate CEMA patrols on line miles in the

12   CEMA scope.

13                  On April 17, 2019, while the routine patrol of the Zogg Mine Road area was

14   underway, a CNUC contractor generated a report indicating that the CEMA patrol of the Zogg

15   Mine Road area (which by this time had been rescheduled for February 15, 2019) was overdue.

16   An entry in the PMD made on April 30, 2019 indicates that the database management specialist

17   who originally input scheduling changes for the Zogg Mine Road area recorded the routine patrol

18   of the Zogg Mine Road area as completed on April 29, 2019. A separate entry in the database
19   made on May 8, 2019 indicates that the same database management specialist recorded the

20   CEMA patrol of the Zogg Mine Road area as also completed on April 29, 2019. CNUC

21   personnel interviewed to date do not recall this particular series of scheduling changes. PG&E is

22   continuing to investigate the matter, including by pulling additional records and reviewing the

23   role of PG&E personnel, and will provide any update in its November 18 submission.

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 1   Dated: November 3, 2020                       Respectfully Submitted,

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 3

 4
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 7

 8
                                                By:    /s/ Kevin J. Orsini
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15                                              Attorneys for Defendant PACIFIC GAS
                                                AND ELECTRIC COMPANY
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